
PER CURIAM.
In view of our decision in Simmons v. Faust, 358 So.2d 1358 (Fla.1978), the order of Judge Eastmoore holding the medical mediation act unconstitutional is not a trial court order appealable to this Court. This cause is therefore transferred to the District Court of Appeal, Fifth District, with directions to remand to the judicial referee for termination of medical mediation jurisdiction in accordance with Aldana v. Holub, 381 So.2d 231 (Fla.1980).*
It is so ordered.
ENGLAND, C. J., and ADKINS, BOYD, OVERTON, SUNDBERG, ALDERMAN and McDONALD, JJ., concur.

 Ed. Note: This cause was transferred to the Supreme Court by the District Court of Appeal, Fifth District, 378 So.2d 857.

